                       UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                       CRIMINAL DOCKET NO.: 5:13-cr- 80


UNITED STATES OF AMERICA,                   )
                                            )
       v.                                   )         AMENDED ORDER
                                            )
DARIUS DONNELL FREEMAN,                     )
                                            )
               Defendant.                   )
                                            )

       THIS MATTER is before the Court upon Defendant Darius Donnell Freeman’s

(“Freeman”) Motion to Sever Trial or Redact Inculpatory Statements Made by Co-Defendants,

filed on April 18, 2014. (Doc. 26.)

                    I.   FACTUAL AND PROCEDURAL BACKGROUND

       On November 8, 2013, Freeman was arraigned and charged by Bill of Indictment with

one count of Armed Bank Robbery under 18 U.S.C. §§ 2113(a) and (d); two counts of

Possession of a Firearm During a Crime of Violence under 18 U.S.C. § 924(c); and one count of

Carjacking under 18 U.S.C. § 2119. (Doc. 1.) The Indictment also charged Wincy Joseph (a/k/a

Joseph Wincy) (“Joseph”), as a co-defendant, with one count of Armed Bank Robbery and one

count of Possession of a Firearm During a Crime of Violence. (Id.)

       On April 14, 2014, the Government produced to Freeman the statement of Jeremy Levine

(“Levine”). Levine claimed that several days after commission of the crimes alleged, Joseph

made a detailed statement to Levine that inculpated Freeman in the alleged bank robbery and

carjacking. (Doc. 26 at 1.)

       Assuming that evidence of Levine’s statements will be introduced at trial against Joseph,

Freeman has moved for a separate trial based on the Supreme Court’s holding in Bruton v.




    Case 5:13-cr-00080-KDB-SCR           Document 37        Filed 05/02/14     Page 1 of 4
United States, 391 U.S. 123 (1968). Alternatively, Freeman asks that the Government be

precluded from entering into evidence any and all statements made by Joseph that would

potentially implicate Freeman.1 (Doc. 26 at 2.) Freeman’s motion does include an alternative

motion to “Redact Inculpatory Statements Made by Co-Defendants,” but Levine’s statement is

not provided to the Court and Freeman offers no proposed redactions.

                                            II. ANALYSIS

        The decision to grant or deny severance is within the sound discretion of the trial court.

Zafiro v. United States, 506 U.S. 534, 538 (1993); United States v. West, 877 F.2d 281, 287-88

(4th Cir.), cert. denied, 493 U.S. 959 (1989). In the federal system there is a preference for joint

trials of defendants who are indicted together. Zafiro, 506 U.S. at 537. This is because joint trials

are efficient and avoid the possibility of inconsistent verdicts. Id.; United States v. Rusher, 966

F.2d 868, 877 (4th Cir. 1992)(“defendants indicted together should be tried together for the sake

of judicial economy.”)

        In Bruton, the Supreme Court held that a defendant is prejudiced when a facially

incriminating statement of a nontestifying codefendant is introduced at a joint trial, even if the

jury is instructed to consider the confession only against the co-defendant. Bruton, 391 U.S. at

126. One solution to avoid such prejudice is to sever the trials of the two defendants.

Alternatively, such prejudice can be cured “if a nontestifying codefendant's statement is redacted

to eliminate any reference to the defendant,” Richardson v. Marsh, 481 U.S. 200, 211 (1987), or

if “the defendant's name is replaced by a symbol or neutral pronoun,” United States v. Vogt, 910

F.2d 1184, 1191–92 (4th Cir.1990.) Further, “[i]f a proffered statement of one nontestifying



1
 Freeman’s Motion is based on the assumption that Joseph does not take the stand and testify in his own
defense. If Joseph were to testify, this issue would be moot because Freeman would be given the
opportunity to cross examine Joseph as required by the Confrontation Clause.
                                                  Page 2 of 4

     Case 5:13-cr-00080-KDB-SCR              Document 37         Filed 05/02/14      Page 2 of 4
codefendant becomes incriminating against another by virtue of an inference from other evidence

at trial, the Confrontation Clause may not be offended if those statements are redacted and a

proper limiting jury instruction is given. United States v. Halteh, 224 F. App'x 210, 217-18 (4th

Cir. 2007)(citing Richardson, 481 U.S. at 208–09; see also United States v. Locklear, 24 F.3d

641, 646 (4th Cir.1994)).

       Here, separating the trials of Freeman and Joseph is not appropriate. Assuming Joseph

does not testify, the parties are encouraged to consider a modified redacted version of Levine’s

statement that adequately protects Freeman’s rights under the Confrontation Clause. See Gray v.

Maryland, 523 U.S. 185, 196 (1998)(the Supreme Court offered “a few other guys” as an

appropriate neutral modification of an otherwise incriminating statement identifying the

defendant.); United States v. Akinkoye, 185 F.3d 192, 198 (4th Cir, 1999)(the Fourth Circuit held

that the neutral phrases “another person” and “another individual” were acceptable neutral

modifications in a statement that was read to the jury.”)

       Furthermore, if necessary and requested by the parties in their proposed jury instructions,

any remaining risk of prejudice by inference can be cured by a proper limiting jury instruction

advising the jurors to apply evidence separately as to each defendant. Richardson, 481 U.S. at

208–09.




                                                Page 3 of 4

    Case 5:13-cr-00080-KDB-SCR             Document 37        Filed 05/02/14     Page 3 of 4
                                       III. CONCLUSION

      IT IS, THEREFORE, ORDERED that Defendant Freeman’s “Motion to Sever” (Doc.

26) is DENIED.




                 Signed: May 2, 2014




                                            Page 4 of 4

   Case 5:13-cr-00080-KDB-SCR           Document 37       Filed 05/02/14   Page 4 of 4
